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IN 'I‘HE UNITED sTATES DISTRICT COURT D~o-
FoR THE wEsTERN DIsTRIcT oF TENNESSEES JUL 25

wEsTERN DIVISION PH h 25

 

 

UNITED STATES OF AMERICA,
Plaintiff,

vs. cv. No. 04-2612-M1/P /

Cr. No. 99-20250-7-Ml
LAVADIUS FAISON,

Defendant.

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ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
OR_DER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CER’I‘IFYING APPEAL NOT TAKEN IN GOOD FAI'I‘H

 

Defendant Lavadius Faison, Bureau of Prisons inmate
registration number 12564-076, who is currently incarcerated at the
Federal Correctional Institution in Forrest City, Arkansas, filed a
ppg _§§ xnotion. pursuant to 28 U.S.C. § 2255 on August 4, 2004,
accompanied by a legal memorandum. On November 30, 2004, Faison filed
an amendment to his motion.

On January 24, 2001, a federal grand jury returned a two-
count indictment against Faison and six co-defendants.l Faison was
named only in the first count, which charged him, along with four co-
defendants, with conspiring to possess in excess of five kilograms of
cocaine with the intent to distribute, in violation of 21 U.S.C. §

846. On June 28, 2001, pursuant to a written plea agreement, Faison

 

l Although the indictment was termed a second superseding indictmentr
Faison was not named in the original indictment or the first superseding indictment.

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appeared before then-District Judge Julia Smith Gibbons to plead
guilty to count one of the second superseding indictment. Visiting
Judge Thomas A. Wiseman, Jr. conducted. a sentencing hearing on
September 28, 2001, at which time Faison was sentenced to one hundred
fifty-one (151) months incarceration, to be followed by a five-year
period of supervised release.2 Judgment was entered on October 4,
2001. The United States Court of Appeals for the Sixth. Circuit
affirmed Faison's sentence. United States V. Faison, 339 F.3d 518 (6th
Cir. 2003).

In his original § 2255 motion, which was filed on August 4,
2004, Faison contends that “[t]he Court went outside the Plea
Agreement I entered into with the government and enhanced my Sentence
for conduct not agreed upon in my Plea Agreement, nor in the
indictment.” In particular, he objects to the two-point enhancement
he received for possession of a firearm. According to Faison, this

aspect of his sentence is illegal for the following reasons:

l. The grand jury indictment does not mention possession
of a firearm and, therefore, the sentencing
enhancement violates his Fifth Amendment right to a
grand jury;

2. The plea agreement states that Faison would be

sentenced on the basis of five kilograms of cocaine
and does not mention a firearms enhancement or his
prior convictions;

 

2 Pursuant to § 2Dl.l(c)(4) of the United States Sentencing Guidelines
(“U.S.S.G”), the base offense level for five kilograms of cocaine is 32. Faison
received a two-point enhancement, pursuant to U.S.S.G. § 2D1.l(b)(1), for possession
of a firearm, which was seized during a search of his residence on January 29, 2001,
resulting in an adjusted offense level of 34. Faison received a three-point
reduction, pursuant to U.S.S.G. § 3El.l, resulting in a total offense level of 31.
Given Faison's criminal history' category' of IV, the guidelines called for a
sentencing range from 151 to 188 months.

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3. The seizure of the firearm in 2001 had no connection
with a conspiracy that, according to the indictment,
terminated in 1999; and
4. Use of the sentencing guidelines violates the Sixth
Amendment and is inconsistent with Apprendi v. New
Jersey, 530 U.S. 466 (2000), and Blakely v.
Washington, 124 S. Ct. 2531 (2004).
On November 18, 2004, Faison filed a brief that presented additional
argument in support of his position that his sentence is
unconstitutional under Apprendi, Blakely, and Jones v. United States,
526 U.S. 227 (1999).

As a preliminary matter, Faison raised his third argument,
that the seizure of the firearm in 2001 had no connection with a
conspiracy that, according to the indictment, terminated in 1999, at
the sentencing hearing and on direct appeal, where the Sixth Circuit
rejected it on the merits, noting that “Faison does not argue that the
firearms and ammunition found in the home or the vehicle were clearly
not related to drug trafficking. Indeed, in light of his own
admissions of drug trafficking and the fact that the firearms were
located close to the drug proceeds or cash with which to purchase
drugs, he could not make such an argument.” United States v. Faison,
339 F.3d at 519. The Sixth Circuit went on to explain that, after a
1991 amendment to the sentencing guidelines, in order for the firearm
enhancement to apply it is no longer necessary for the Government to
prove that the weapon was possessed during the commission of the
offense. Instead, “all that the government need show is that the
dangerous weapon be possessed during ‘relevant conduct.'” lgy at 520.

The Court of Appeals concluded that the 2001 cocaine dealing was part

of the same relevant conduct as that to which Faison pleaded guilty:

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Relevant conduct under the sentencing guidelines
includes “all acts and omissions . . . that were part of the
same course of conduct or common scheme or plan as the
offense of conviction.” U.S.S.G. § 1Bl.3(a)(2). In order for
the cocaine dealing in 2001 to be part of the same course
of conduct as the offense conduct, the court must examine
“the degree of similarity of the offenses, the regularity
(repetitions) of the offenses, and the time interval between
the offenses.” [United States v. Hill, 79 F.3d 1477, 1481-82
(6th Cir. 1996).] In order for the 2001 cocaine dealing to
be part of the common scheme or plan relating to the offense
of conviction, the 2001 conduct must be substantially
connected by at least one common factor such as “common
victims, common accomplices, common purpose, or similar
modus operandi." ld; Faison was guilty of a conspiracy to
traffic in cocaine through October 1999, and his possession
of $70,000 in drug proceeds together with his admission at
the time of his plea shows him to be a continuing cocaine
trafficker when he was arrested in January 2001. Faison's
continuing cocaine trafficking constitutes the same course
of conduct and has a common purpose as his offense of
conviction. Therefore, the possession of the dangerous
weapon during drug trafficking in 2001 was conduct relevant
to the offense of conviction.

ldé at 520-21.

“[A] § 2255 motion may not be employed to relitigate an
issue that was raised and considered on direct appeal absent highly
exceptional circumstances, such as an intervening change in the law.”
Jones v. United States, 178 F.3d 790, 796 (6th Cir. 1999); §g§ DuPont
v. United States, 76 F.3d 108, 110 (6th Cir. 1996). No such
extraordinary circumstances are present in this case. Thus, Faison's
third argument is without merit and is dismissed.

With respect to Faison's first argument, his second
argument, and that portion of his fourth argument that relies on

Apprendi and Jones, a § 2255 motion is not a substitute for a direct

 

appeal. Sunal v. Lange, 332 U.S. 174, 178 (1947). Thus, as the Supreme
Court explained, “[N]onconstitutional claims that could have been

raised on appeal, but were not, may not be asserted in collateral

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proceedings.” Stone v. Powell, 428 U.S. 465, 477 n.10 (1976).

 

Moreover, even constitutional claims that could have been raised on
direct appeal, but were not, will be barred by procedural default
unless the defendant demonstrates cause and prejudice sufficient to
excuse his failure to raise these issues previously. El-Nobani v.
United States, 287 F.3d 417, 420 (6th Cir. 2002) (withdrawal of guilty
plea); Peveler v. United States, 269 F.3d 693, 698-99 (6th Cir. 2001)
(new Supreme Court decision issued during pendency of direct appeal);
Phillip v. United States, 229 F.3d 550, 552 (6th Cir. 2000) (trial
errors). Alternatively, a defendant may obtain review of a
procedurally defaulted claim by demonstrating his “actual innocence.”
Bouslev v. United States, 523 U.S. 614, 622 (1998).

Faison's first and second arguments, and that portion of his
fourth argument that relies on Apprendi and ggng§, were available to
him on direct appeal but were apparently not raised at that time.
Although “[a]ttorney error may constitute cause [sufficient to excuse
a procedural default] if it rises to the level of constitutionally
ineffective assistance of counsel,” Barrow v. United States, 8 Fed.
Appx. 286, 288 (6th Cir. Mar. 13, 2001), Faison does not contend that
his attorney rendered ineffective assistance, either at the guilty
plea and sentencing hearings or on direct appeal. Finally, Faison's
guilty plea to the drug trafficking charge, and the Sixth Circuit's
decision on direct appeal that the firearm enhancement was warranted
by the facts of the case, preclude him from maintaining that he is
actually innocent. ny Peveler, 269 F.3d at 701 (“To prove his actual
innocence, Peveler must show that ‘it is more likely than not that no

reasonable juror would have convicted him.'”). For all the foregoing

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reasons, then, Faison's first and second claim, and that portion of

his fourth claim that relies on Apprendi and Jones, are barred by

 

procedural default and are, therefore, dismissed.

Faison's final claim, that his sentence violates Blakely v.
Washington, was not available to him during his direct appeal. In a
subsequent decision issued since this motion was filed, which Faison
has not cited but which the Court will consider sga sponte, the
Supreme Court held that the mandatory aspects of the sentencing
guidelines are unconstitutional. United States v. Booker, 125 S. Ct.
758 (2005). “As a general rule, new constitutional decisions are not
applied retroactively to cases that were finalized prior to a new
Supreme Court decision.” Goode v. United States, 305 F.3d 378, 383
(6th Cir. 2002); §§§ Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26
(2004) (holding that decision in Ring v. Arizona, which held that a
sentencing judge in a capital case may not find an aggravating factor
necessary for imposition of the death penalty, and that the Sixth
Amendment requires that those circumstances be found by a jury, does
not apply retroactively to cases on collateral review); E§ggge_yé
gane, 489 U.S. 288 (1989). Applying these standards, the Sixth Circuit
has held that Blakely and Booker issues cannot be raised in an initial
motion pursuant to 28 U.S.C. § 2255. Humphress v. United States, 398
F.3d 855, 860-63 (6th Cir. 2005). Accordingly, Faison’s fourth claim,
to the extent that it relies on Blakely and Booker, is without merit
and is dismissed.

The motion, together with the files and record in this case
“conclusively show that the prisoner is entitled to no relief.” 28

U.S.C. § 2255; see also Rule 4(b), Rules Governing Section 2255

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Motions in the United States District Courts. Therefore, the Court
finds that a response is not required from the United States Attorney
and that the motion may be resolved without an evidentiary hearing.

United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United

 

States, 781 F.2d 85, 92 (6th Cir. 1986). Defendant’s conviction and
sentence are valid and therefore, his motion is DENIED.
Consideration must also be given to issues that may occur
if the Defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability of
its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial
showing of the denial of a constitutional right.” 28 U.S.C. §
2253(c)(2); see also Fed. R. App. P. 22(b); Lvons v. Ohio Adult Parole

Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue

 

certificates of appealability under the AEDPA). No § 2255 movant may
appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether (or,
for that matter, agree that) the petition should have been resolved
in a different manner or that the issues presented were “‘adequate to
deserve encouragement to proceed further.'” §lagk, 529 U.S. at 484
(quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue

limitations on the issuance of certificates of appealability:

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[O]ur opinion in Slack held that a COA does not require a
showing that the appeal will succeed. Accordingly, a court
of appeals should not decline the application of a COA
merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack
would mean very little if appellate review were denied
because the prisoner did not convince a judge, or, for that
matter, three judges, that he or she would prevail. It is
consistent with. § 2253 that a COA. will issue in some
instances where there is no certainty of ultimate relief.
After all, when a COA is sought, the whole premise is that
the prisoner “‘has already failed in that endeavor.’”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463
U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘something more than
the absence of frivolity'” or the existence of mere “good
faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

Id. at 338 (quoting Barefoot, 463 U.S. at 893); see also id. at 342

 

(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the
resolution of that debate.”).3

In this case, for the reasons previously stated, the
Defendant’s claims are plainly lacking in substantive merit and,
therefore, he cannot present a question of some substance about which
reasonable jurists could differ. The Court therefore DENIES a

certificate of appealability.

 

3 By the same token, the Supreme Court also emphasized that “ [o]ur holding
should not be misconstrued as directing that a COA always must issue." Li_. at 337.
Instead, the COA requirement implements a system of “differential treatment of those
appeals deserving of attention from those that plainly do not.” L

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The Prison Litigation Reforn\Act of 1995 (“PLRA”), 28 U.S.C.
§ 1915(a)(3), does not apply to appeals of orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir. 1997);
gjg_ McGore v. Wriqglesworth, 114 F.3d 601, 610 (6th Cir. 1997)
(instructing courts regarding' proper PLRA» procedures in. prisoner
civil-rights casesl. Rather, to seek leave to appeal ig_fgrma_pauperis
in a § 2255 case, and thereby avoid the $255 filing fee required by
28 U.S.C. §§ 1913 and 1917,4 the prisoner must seek permission from
the district court under Rule 24(a) of the Federal Rules of Appellate
Procedure. Hereford, 117 F.3d at 952. If the motion is denied, the
prisoner may renew the motion in the appellate court.

Rule 24(a)(1) provides that:

Except as stated in Rule 24(a)(3), a party to a

district-court action who desires to appeal in forma

pauperis must file a motion in the district court. The
party must attach an affidavit that:

(A) shows in the detail prescribed by Form 4 of the
Appendix of Forms the party's inability to pay or to
give security for fees and costs;

(B) claims an entitlement to redress; and

(C) states the issues that the party intends to
present on appeal.

Fed. R. App. P. 24(a)(1L. The Rule further requires the district court
to certify in writing whether the appeal is taken in good faith. Fed.

R. App. P. 24(a)(3)(AL. For the same reasons the Court denies a

 

‘ Effective November 1, 2003, the fee for docketing an appeal is $250. See

Judicial Conference Schedule of Fees, I 1, Note following 28 U.S.C. § 1913. Under
28 U.S.C. § 1917r a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or application
for appeal or upon the receipt of any order allowing, or notice of the
allowance of, an appeal or of a writ of certiorari $5 shall be paid to
the clerk of the district court. by the appellant or petitioner.

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certificate of appealability, the Court determines that any appeal in
this case would not be taken in good faith. It is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter by

this Defendant is not taken in good faith, and he may not proceed on

appeal in forma pauperis.

IT IS 30 ORDERED this E?LP day of July, 2005.

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JO PHIPPS MCCALLA
TED S'I'ATES DIS'I‘RICT JUDGE

 

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UNTED STAETS DISTRICT COURT - WESTEN DISCTRIT oF TENNESSEE

   

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Honorable J on McCalla
US DISTRICT COURT

